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                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

        Plaintiff,
                                                              Hon. Paul L. Maloney
 v.
                                                              Case No. 1:17-cr-00122
 RYAN ROGER BRUCE AMELIA,

       Defendant.
 ________________________________/

                        REPORT AND RECOMMENDATION


       Pursuant to W.D. MICH. L.CR.R. 11.1, I conducted a plea hearing in the

captioned case on August 16, 2017, after receiving the written consent of defendant

and all counsel. At the hearing, defendant entered a plea of guilty to Count 1 of the

Indictment in exchange for the undertakings made by the government in the

written plea agreement. In Count 1 of the Indictment, defendant is charged with

being a felon in possession of firearms in violation of 18 U.S.C. §§ 922 (g)(1),

9249(a)(2), and 921(a). On the basis of the record made at the hearing, I find that

defendant is fully capable and competent to enter an informed plea; that the plea is

made knowingly and with full understanding of each of the rights waived by

defendant; that it is made voluntarily and free from any force, threats, or promises,

apart from the promises in the plea agreement; that the defendant understands the

nature of the charge and penalties provided by law; and that the plea has a

sufficient basis in fact.
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      Accordingly, I recommend that defendant's plea of guilty to Count 1 of the

Indictment be accepted, that the court adjudicate defendant guilty, and that the

written plea agreement be considered for acceptance at the time of sentencing.

Acceptance of the plea, adjudication of guilt, acceptance of the plea agreement, and

imposition of sentence are specifically reserved for the district judge.



Date: August 17, 2017                           /s/ Phillip J. Green__________
                                               PHILLIP J. GREEN
                                               United States Magistrate Judge


                               NOTICE TO PARTIES

       You have the right to de novo review of the foregoing findings by the district
judge. Any application for review must be in writing, must specify the portions of
the findings or proceedings objected to, and must be filed and served no later
than14 days after the plea hearing. See W.D. MICH. L.CR.R. 11.1(d).




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